
*525OPINION.
Lansdon:
There is no question of fact as to the payments made the attorneys, but respondent does not admit that such payments were “ ordinary and necessary expense of the business ” in which petitioner was engaged. We concur with this view. Sarah Backer, et al, 1 B. T. A. 214; John Stephens, 2 B. T. A. 724; David G. Joyce, 3 B. T. A. 393.
As to whether petitioner’s deduction of the loss of $15,516.04 ascertained by him to have been incurred on account of his having guaranteed the payment of indebtedness of Armstrong-Robins Corporation should be allowed is not so clear. Petitioner has proven a loss of more than double this amount by the corporation during the year 1920, but he has not proven that under his guarantee he was required to pay or did pay any of this loss out of his own personal funds. He has shown that he had guaranteed the payment of $71,024.25 of the indebtedness of the corporation, but he has also shown that at the close of the year the corporation had available for meeting its obligations, cash $224.53, bills receivable $2,000, accounts receivable *526$71,907.67, merchandise $18,723.44, and furniture $310.31, a total of $93,165.95. He has not shown how much of these tangible assets he could and did use in payment of the secured debts, nor how much in payment of the unsecured debts, nor for how much or what part, if any, of the unsecured debts he was responsible as a stockholder of the corporation over and above his actual investment in its capital stock, nor the amount of such investment. These essential matters are too much in doubt to justify us in saying that the respondent erred in disallowing the deduction claimed.
Reviewed by the Board.

Judgment will he entered for the respondent.

